 1                                                                The Honorable Lauren King
 2

 3

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 5

 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                    NO. 2:25-cv-00244-LK
10                             Plaintiffs,           AMENDED INDEX OF
                                                     DECLARATIONS IN SUPPORT
11      v.                                           OF PLAINTIFFS’ MOTION FOR
                                                     PRELIMINARY INJUNCTION
12   DONALD J. TRUMP, in his official
     capacity as President of the United States of   NOTE ON MOTION CALENDAR:
13   America, et al.,                                February 28, 2025, at 2:00 p.m.
14                             Defendants.
15

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17

18

19

20

21

22

23

24

25

26


     AMENDED DECLARATION INDEX                                ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
     NO. 2:25-cv-00244-LK                                          800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104
                                                                          (206) 464-7744
 1
        ECF             Name                                  Title
 2
          13      Physician Plaintiff 1                     Plaintiff
 3

 4        14      Physician Plaintiff 2                     Plaintiff

 5        15      Physician Plaintiff 3                     Plaintiff
 6                                              CEO, Executive Vice President
                   Timothy H. Dellit                   for Medical Affairs,
 7        16
                         MD                     Paul G. Ramsey Endowed Dean,
                                          University of Washington School of Medicine
 8
                                                   Assistant Attorney General
 9        17       William McGinty                Complex Litigation Division
                                              Washington State Attorney General
10               Armand Antommaria
          18                                       Pediatrician and Bioethicist
                     MD, PHD
11
                                                    Pediatric Endocrinologist
12                                              Associate Professor of Pediatrics
                      Dan Shumer
          19                                            Clinical Director
                         MD
13                                             Child and Adolescent Gender Clinic
                                          Mott Children’s Hospital at Michigan Medicine
14
          21              L.L.                             Individual
15
          22             L.M.                              Individual
16

17        23      Luna Crone-Baron                         Individual

18        24              S.O.                             Individual
19
          25              V.S.                             Individual
20
          26              A.F.                               Parent
21

22        27        Allison Jansen                           Parent

23        28             A.M.                                Parent
24
          29             B.M.                                Parent
25
          30        Brett J. Bertram                         Parent
26

     AMENDED DECLARATION INDEX                1             ATTORNEY GENERAL OF WASHINGTON
                                                                 Complex Litigation Division
     NO. 2:25-cv-00244-LK                                        800 Fifth Avenue, Suite 2000
                                                                     Seattle, WA 98104
                                                                        (206) 464-7744
 1
        ECF            Name                Title
 2
          31            C.K.               Parent
 3

 4        32            D.C.               Parent

 5        33            E.C.               Parent
 6
          34         Elbe Seaton           Parent
 7
          35       Elizabeth Grande        Parent
 8

 9        36             F.T.              Parent

10        37            G.T.               Parent

11        38            H.E.               Parent
12
          39            H.B.               Parent
13
          40         Heidi Ullom           Parent
14

15        41            H.M.               Parent

16        42            H.R.               Parent
17
          43          Jess Khan            Parent
18
          44        Jessica Brady          Parent
19

20        45            J.M.               Parent

21        46       Josephine Brinda        Parent

22        47            K.B.               Parent
23
          48            K.C.C              Parent
24
          49            K.D.               Parent
25

26        50            K.G.               Parent

     AMENDED DECLARATION INDEX        2   ATTORNEY GENERAL OF WASHINGTON
                                               Complex Litigation Division
     NO. 2:25-cv-00244-LK                      800 Fifth Avenue, Suite 2000
                                                   Seattle, WA 98104
                                                      (206) 464-7744
 1
        ECF            Name                                 Title
 2
          51            K.H.                                Parent
 3

 4        52            K.S.                                Parent

 5        53            K.W.                                Parent
 6
          54            M.B.                                Parent
 7
          55   Melody & Zach Billmeyer                      Parent
 8

 9                         Docket # 56 - Court Filed Summonses

10        57           M.E.S.                               Parent

11        58            M.F.                                Parent
12
          59        M.T. and T.T.                           Parent
13
          60            N.M.                                Parent
14

15        61         Pam Riddle                             Parent

16        62            P.R.                                Parent
17
          63            R.D.                                Parent
18
          64       Rebecca Voelkel                          Parent
19

20        65            R.H.                                Parent

21        66            R.T.                                Parent

22        67            S.B.                                Parent
23
          68            S.F.                                Parent
24
          69            S.N.                                Parent
25

26        70            S.O.                                Parent

     AMENDED DECLARATION INDEX               3             ATTORNEY GENERAL OF WASHINGTON
                                                                Complex Litigation Division
     NO. 2:25-cv-00244-LK                                       800 Fifth Avenue, Suite 2000
                                                                    Seattle, WA 98104
                                                                       (206) 464-7744
 1
         ECF            Name                                Title
 2
          71              S.S.                             Parent
 3

 4        72             T.O.                              Parent

 5        73             A.M.                             Provider
 6
          74            A.M.M.                            Provider
 7
                                                      Executive Director
          75        Anne Van Avery
 8                                                    Family Tree Clinic

 9        76             A.P.                             Provider

10        77             B.M.                             Provider

11                                                    Commissioner
          78       Brooke Cunningham
                                             Minnesota Department of Health
12                    Carrie Link         Assistant Professor of Family Medicine
          79
                         MD                      University of Minnesota
13
          80             C.L.                             Provider
14
                                                Mental Health Counselor
15        81          Corrie Piper
                                               Alive Holistic Counseling
16                                      Board-Certified Family Medicine Physician
                      Crystal Beal             University of Washington
          82
17                       MD                        School of Medicine
                                                School of Public Health
18
          83
19                  Emmett Stanfield          Independent Clinical Social Worker
        84 (ex.)
20

21        85             E.K.                             Provider

22                                                   Clinical Instructor
          86         Elika McGuire     University of Washington School of Medicine
23                                               Department of Psychiatry
                                                     Medicaid Director
24        87         Emma Sandoe
                                                 Oregon Health Authority
                                                Family Medicine Physician
25
          88         Erik Haugland                 Gender Cae Specialist
26                                                North Memorial Health

     AMENDED DECLARATION INDEX            4               ATTORNEY GENERAL OF WASHINGTON
                                                               Complex Litigation Division
     NO. 2:25-cv-00244-LK                                      800 Fifth Avenue, Suite 2000
                                                                   Seattle, WA 98104
                                                                      (206) 464-7744
 1
        ECF             Name                                  Title
 2
          89             F.L.                               Provider
 3

 4        90             G.M.                               Provider

 5        91             H.L.                               Provider
 6                                        Vice President for Research and Innovation
          92          Irem Tumer
                                                   Oregon State University
 7
          93     Janna Gewirtz O'Brien             Board-Certified Pediatrician
 8
                                                    Assistant Commissioner
 9        94        John Connolly
                                           Minnesota Department of Human Services
                   Katherine Oyster            Board-Certified Family Medicine
10        95
                         MD                              Allina Health
11                                                     Medical Director
                Kathleen Kennedy Miller
          96                                         Adolescent Medicine
12                        MD
                                                     Children’s Minnesota
                                                      Executive Director
13        97         Kelly Hower                    Oregon State University
14                                                  Student Health Services
                  Kelsey Leonardsmit                        Director
          98
15                   MD, FAAFP             Midwest Trans Health Education Network
                  Mackenzie Dunham        Licensed Independent Clinical Social Worker
16        99
                   LICSW, LCSW                        Wild Heart Society
17                   Maria Kaefer                      Medical Director
         100
                         MD                            Famil Tree Clinic
18
         101          Marie Doe                             Provider
19
                 Marie-Clarie Buckley
         102                                           Assistant Professor
20                       MD
                                                     Executive Director
21       103     Nicole Krishnaswami
                                                   Oregon Medical Board
                  Pamela Gigi Chawla                     President
22       104
                     MD, MHA                 Minnesota Board of Medical Practice
23
         105             R.R.                               Provider
24
         106             R.C.                               Provider
25
                                                     Executive Vice President
         107         Tim Goldfarb
26                                               Interiem Chief Executive Officer

     AMENDED DECLARATION INDEX               5              ATTORNEY GENERAL OF WASHINGTON
                                                                 Complex Litigation Division
     NO. 2:25-cv-00244-LK                                        800 Fifth Avenue, Suite 2000
                                                                     Seattle, WA 98104
                                                                        (206) 464-7744
 1
        ECF            Name                                      Title
 2
                                                 Oregon Health & Science University
 3

 4       108            W.J.                                    Provider

 5                Zack Barnett-Kern                 Licensed Independent Clinical
         109
                   LICSW, MSW                          Social Worker Associate
 6
                                   Docket # 110 – Boyd NOA
 7
         111           Z.C.L.                                   Provider
 8
                  A. Doe and B. Doe
 9       112                                                   Providers
                         MD
10       113        Anne Johnson                             Organization

11                 Charissa Fotinos                        Medicaid Director
         114
                     MD, MSc                   Washington State Health Care Authority
12                                                        Executive Director
         115        Danni Askini
                                                        Gender Justice League
13
                                                         Senior Vice President
                  Jeffrey G. Ojemann
14       116                                          Chief Physician Executive
                          MD
                                                           Seattle Children’s
15                                                        Executive Director
         117       Kyle S. Karinen
                                                  Washington Medical Commission
16
                                                          Executive Director
         118       Matthew Wilson
17                                                        Oasis Youth Center
                                                            Chief Executive
18       119         Mike Glenn
                                                         Jefferson Healthcare
19                                           Community Advocacy and Outreach Director
         120       Rebekah Gardea
                                                  QLaw Foundation of Washington
20                                                  Queer Youth Services Manager
         121         Sarah Glebe
                                                      Northwest Youth Services
21                                                        Executive Director
22       122        Taffy Johnson            United Territories of Pacific Islander Alliance
                                                              Washington
23                                     Docket ## 123–128
24
         129             E.H.                                  Individual
25
                                       Docket ## 130–169
26

     AMENDED DECLARATION INDEX                  6              ATTORNEY GENERAL OF WASHINGTON
                                                                    Complex Litigation Division
     NO. 2:25-cv-00244-LK                                           800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104
                                                                           (206) 464-7744
 1
        ECF             Name                                  Title
 2
         170      Supp. Decl. Physician                      Plaintiff
 3                     Plaintiff 1
 4       171      Supp. Decl. Physician                      Plaintiff
                       Plaintiff 2
 5
         172      Supp. Decl. Physician                      Plaintiff
 6                     Plaintiff 3
                                                     Assistant Attorney General
 7       173        William McGinty
                                                    Complex Litigation Division
 8                                              Washington State Attorney General
                                                  CEO, Executive Vice President
         174     Supp. Decl. Timothy H.
 9                                                       for Medical Affairs,
                       Dellit, MD
                                                  Paul G. Ramsey Endowed Dean,
10                                          University of Washington School of Medicine
11                                                  Pediatric Endocrinologist
                                                Associate Professor of Pediatrics
12       175     Supp. Decl. Dan Shumer
                                                        Clinical Director
                          MD
                                               Child and Adolescent Gender Clinic
13                                        Mott Children’s Hospital at Michigan Medicine
14                                           Chief of Prevention, Safety, and Health,
         176   Lacy Fehrenback-Marosfalvy
                                             Washington State Department of Health
15                                                    Senior Vice President
         177       Supp. Decl. Jeffrey
                                                    Chief Physician Executive
16                  G. Ojemann, MD
                                                        Seattle Children’s
17       178              C.F.                              Individual
18
         179    Shannon Hillinger, Walker                     Family
19                  Aumann, & E.H.
         180              K.B.                              Individual
20

21       181             M.M.                               Individual

22       182              A.D.                                Parent
23
         183              B.P.                                Parent
24
         184            Caitlin P.                            Parent
25

26       185              C.C.                                Parent

     AMENDED DECLARATION INDEX                 7             ATTORNEY GENERAL OF WASHINGTON
                                                                  Complex Litigation Division
     NO. 2:25-cv-00244-LK                                         800 Fifth Avenue, Suite 2000
                                                                      Seattle, WA 98104
                                                                         (206) 464-7744
 1
        ECF            Name                               Title
 2
         186             C.D.                            Parent
 3

 4       187             C.S.                            Parent

 5       188            G.K.L.                           Parent
 6
         189              J.K.                           Parent
 7
         190              J.L.                           Parent
 8
         191         J.V. and P.V.                       Parents
 9

10       192             L.D.                            Parent

11       193             M.S.                            Parent
12
         194             N.B.                            Parent
13
         195             S.G.                            Parent
14

15       196             S.M                             Parent

16       197             S.T.                            Parent
17
         198     Stephenie ‘Fe’ Mischo                   Parent
18
         199             S.W.                         Grandparent
19
         200             T.D.                            Parent
20

21       201         D.Z. and A.Z.                       Parents

22       202             E.L.                      Provider, LSWAIC
23
         203     Emery Nelsen-Barbosa             Provider, MS, LMFT
24
         204         Kian Leggett              Provider, LICSW, SMMHS
25

26       205      Stacey Prince, Ph.D.   Provider, Licensed Clinical Psychologist

     AMENDED DECLARATION INDEX           8              ATTORNEY GENERAL OF WASHINGTON
                                                             Complex Litigation Division
     NO. 2:25-cv-00244-LK                                    800 Fifth Avenue, Suite 2000
                                                                 Seattle, WA 98104
                                                                    (206) 464-7744
 1
        ECF              Name                                    Title
 2
         206          Brandon Chun                    Interim Executive Director,
 3                                                      Ingersoll Gender Center
 4       207        Catherine Doe, MD                  Provider, Medical Doctor
 5       208               N.V.                                 Parent
 6
         209           CEO-MN-1                                  CEO
 7
                                      Docket ## 210–214
 8

 9       215               J.T.                                 Parent

10        DATED this 20th day of February 2025.
11
                                             NICHOLAS W. BROWN
12                                           Washington State Attorney General

13                                           /s/ William McGinty
                                             WILLIAM MCGINTY, WSBA #41868
14                                           CYNTHIA ALEXANDER, WSBA #46019
                                             TERA HEINTZ, WSBA #54921
15                                           ANDREW R.W. HUGHES, WSBA #49515
                                             NEAL LUNA, WSBA #34085
16                                           CRISTINA SEPE, WSBA #53609
                                             LUCY WOLF, WSBA #59028
17                                           Assistant Attorneys General
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20                                           Tera.Heintz@atg.wa.gov
                                             Andrew.Hughes@atg.wa.gov
21                                           Neal.Luna@atg.wa.gov
                                             Cristina.Sepe@atg.wa.gov
22                                           Lucy.Wolf@atg.wa.gov
                                             Attorneys for Plaintiff State of Washington
23
                                             /s/ Lauryn K. Fraas
24                                           LAURYN K. FRAAS, WSBA #53238
                                             COLLEEN MELODY, WSBA #42275
25                                           Assistant Attorneys General
                                             800 Fifth Avenue, Suite 2000
26                                           Seattle, WA 98104-3188

     AMENDED DECLARATION INDEX                    9            ATTORNEY GENERAL OF WASHINGTON
                                                                    Complex Litigation Division
     NO. 2:25-cv-00244-LK                                           800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104
                                                                           (206) 464-7744
 1                               (206) 464-7744
                                 Lauryn.Fraas@atg.wa.gov
 2                               Colleen.Melody@atg.wa.gov
                                 Attorneys for Physician Plaintiffs 1-3
 3

 4
                                 KEITH ELLISON
 5                               State of Minnesota Attorney General
 6                               /s/ James W. Canaday
                                 JAMES W. CANADAY, MSBA #030234X
 7                               Deputy Attorney General
                                 445 Minnesota St., Ste. 600
 8                               St. Paul, Minnesota 55101-2130
                                 (651) 757-1421
 9                               james.canaday@ag.state.mn.us
                                 Attorneys for Plaintiff State of Minnesota
10

11
                                 DAN RAYFIELD
12                               State of Oregon Attorney General
13                               /s/ Allie M. Boyd
                                 ALLIE M. BOYD, WSBA #56444
14                               Senior Assistant Attorney General
                                 Trial Attorney
15                               1162 Court Street NE
                                 Salem, OR 97301-4096
16                               (503) 947-4700
                                 allie.m.boyd@doj.oregon.gov
17                               Attorneys for Plaintiff State of Oregon
18

19                               PHIL WEISER
                                 Attorney General of Colorado
20
                                 /s/ Shannon Stevenson
21                               SHANNON STEVENSON*
                                 Solicitor General
22                               Office of the Colorado Attorney General
                                 1300 Broadway, #10
23                               Denver, CO 80203
                                 (720) 508-6000
24                               shannon.stevenson@coag.gov
                                 Attorneys for Plaintiff State of Colorado
25
                                 *pro hac vice application pending
26

     AMENDED DECLARATION INDEX      10              ATTORNEY GENERAL OF WASHINGTON
                                                         Complex Litigation Division
     NO. 2:25-cv-00244-LK                                800 Fifth Avenue, Suite 2000
                                                             Seattle, WA 98104
                                                                (206) 464-7744
